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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA, )
                          )
               Plaintiff, )
                          )
     v.                   )                Case Number: 13-CR-00028-JED-35
                          )
CHANTZ LUCAS,             )
                          )
               Defendant. )

                                  OPINION AND ORDER

       Defendant, Chantz Lucas’ Motion to Reopen Detention Hearing, [Dkt. 1051], is

before the court for decision. The motion seeks to reopen the detention hearing to allow

the court to consider allegedly new information and after considering the information

release Defendant on pretrial release conditions. The court granted Defendant’s motion

to reopen the detention hearing and now addresses whether the allegedly new information

supports releasing Defendant on conditions pending trial.

       At the reopened detention hearing, Defendant made three arguments in support of

his release on conditions pending trial. First, that his criminal record is not as extensive as

the court believed when it ordered Defendant detained.             Second, that he has very

substantial family and community support. Third, that other defendants in this case with

similar criminal histories were released on pretrial conditions.

                               Defendant’s Criminal Record

       At the conclusion of the reopened hearing, defense counsel acknowledged that the

Pretrial Services’ Report considered by the parties and the court at the original detention

hearing accurately reflected Defendant’s criminal record. Thus, Defendant’s first argument

presents no basis to order Defendant’s pretrial release on conditions.
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                             Family and Community Support

       Substantial evidence was presented at the reopened detention hearing showing

Defendant’s family and community support. The court was generally made aware of similar

information at the original detention hearing. That information supported the court’s

determination that Defendant was not a flight risk, but did not overcome the evidence that

Defendant’s pretrial release on conditions would pose a danger to the community. The

more extensive evidence of family and community support presented at the reopened

hearing does not alter the result. Defendant’s prior criminal record and the strong evidence

of Defendant’s involvement at a high level in multi kilogram cocaine distribution supports

the court’s determination that Defendant’s pretrial release would pose a danger to the

community despite Defendant’s strong family and community support.

                           Comparison with Other Defendants

       At the reopened detention hearing, Defendant argued that nineteen similarly situated

defendants have been released in this case. The circumstances of those nineteen

defendants have been reviewed. Eleven of nineteen had criminal records that were

materially less extensive than Defendant. Seven of the nineteen did not have motions for

detention filed by the government. Only one defendant had a similar criminal history and

a motion for detention by the government. That defendant was detained after the detention

hearing although that defendant was later released.

       After the reopened hearing and without obtaining the court’s permission, Defendant

filed a supplement, [Dkt. 1202], which identified five additional defendants who were

released. Of those five defendants two have materially less serious criminal records, the



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detention motions were withdrawn by the government for two defendants, and one had no

motion for detention filed by the government.

       As the court noted at the reopened detention hearing, each defendant’s case is

considered based on that individual’s facts and circumstances, so this type of comparison

is of marginal value. However, the results of the comparison satisfy the court that

Defendant Lucas is not being singled out for harsher treatment than similarly situated co-

defendants.

       Based upon the findings at Defendant’s original detention hearing, [Dkt. 438], the

findings on the appeal of the detention order, [Dkt. 552], and consideration of the evidence

and argument at the reopened detention hearing, the court concludes that Defendant

should remain detained.

       Defendant Lucas’ Motion to Reopen Detention Hearing, [Dkt. 1051], is GRANTED

in part and DENIED in part.

       SO ORDERED this 30th day of June, 2015.




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